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                                                                          COU/n
                       UNITED STATES DISTRICT COURT                           D!V.
                       SOUTHERN DISTRICT OF GEORGIa' '' PpA^-f^
                            SAVANNAH DIVISION                         i
LAWRENCE E. RUF,                            )
                                            )
          Plaintiff,                        )
V.                                          )           CV418-194
                                            )
WELLS FARGO BANK, N.A.,                     )
et al.,                                     )
                                            )
          Defendants.                       )

                                     ORDER


          This case, involving allegations ofimpropriety in the administration

ofpro se plaintiff Lawrence Rufs mortgage, was recently reassigned to the

undersigned. See Docket entry dated Jan. 8, 2019. Because of a previous

attorney-client relationship with the plaintiff in an unrelated matter, and

to avoid any appearance of impropriety, I recuse.

          Two federal statutes govern judicial disqualification due to conflict

of interests. The first, 28 U.S.C. § 144, only applies when "a party . . .

makes and files a timely and sufficient affidavit . . . ." Since no such

affidavit has been filed, it does not apply here. The second, 28 U.S.C. §

455, "places a judge under a self-enforcing obligation to recuse himself

where the proper legal grounds exist." United States v. Alabama,828 F.2d
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